       Case 2:12-md-02323-AB Document 4133-2 Filed 10/31/12 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

                                             :
IN RE NATIONAL FOOTBALL                      :       No. 2:12-md-02323-AB
PLAYERS’ CONCUSSION                          :
INJURY LITIGATION                            :       MDL No. 2323
                                             :
                                             :
THIS DOCUMENT RELATES TO:                    :
All Actions                                  :
                                             :


                                CERTIFICATE OF SERVICE

       I hereby certify that, on October 31, 2012, pursuant to paragraph 8 of Case Management

Order No. 1 (ECF No. 4), the foregoing Memorandum of Plaintiffs’ in Opposition to Riddel

Defendants’ Motion to Dismiss Based on LMRA §301 Preemption was served via the Electronic

Case Filing (ECF) system in the United States District Court for the Eastern District of

Pennsylvania, on all parties registered for CM/ECF in the above captioned matter.



                                             ANAPOL SCHWARTZ



                                             By:
                                                     Attorney I.D. No. 15925
                                                     1710 Spruce Street
                                                     Philadelphia, PA 19103
                                                     (215) 735-2098
                                                     sweiss@anapolschwartz.com
